Case 22-10263-KBO   Doc 246-12   Filed 05/13/22   Page 1 of 11




            EXHIBIT 12
Case 22-10263-KBO   Doc 246-12   Filed 05/13/22   Page 2 of 11
Case 22-10263-KBO   Doc 246-12   Filed 05/13/22   Page 3 of 11
Case 22-10263-KBO   Doc 246-12   Filed 05/13/22   Page 4 of 11
Case 22-10263-KBO   Doc 246-12   Filed 05/13/22   Page 5 of 11
Case 22-10263-KBO   Doc 246-12   Filed 05/13/22   Page 6 of 11
Case 22-10263-KBO   Doc 246-12   Filed 05/13/22   Page 7 of 11
Case 22-10263-KBO   Doc 246-12   Filed 05/13/22   Page 8 of 11
Case 22-10263-KBO   Doc 246-12   Filed 05/13/22   Page 9 of 11
Case 22-10263-KBO   Doc 246-12   Filed 05/13/22   Page 10 of 11
Case 22-10263-KBO   Doc 246-12   Filed 05/13/22   Page 11 of 11
